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 8                             UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
10

11 UNITED STATES OF AMERICA,                   Case No.: CR-17-191-RSL
           Plaintiff,
12
   v.
13                                             DEFENDANT LOUIS ONG’S
   LOUIS ONG,                                  SENTENCING MEMORANDUM
14         Defendant.
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                                        DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1                                           INTRODUCTION
 2          Louis Ong is bright man who has deeply reflected on his unlawful and reckless actions that
 3 have brought him before the Court for sentencing on May 11, 2018. Since his arrest in July 2017,

 4 he has taken tremendous and genuine steps to grow as a person, and made serious and real changes

 5 to his life. He is being sentenced on a charge that he operated a money transmission business in

 6 Washington state that lacked the required state license. He pleaded guilty to this crime, which is a

 7 felony federally but only a misdemeanor under Washington state law, on February 15, 2018. Louis

 8 acknowledges he acted improperly, accepts full responsibility for his actions, is deeply remorseful,

 9 and will personally address the Court at the sentencing on these matters.
10          But before Louis does, the Court will read below and in the attached letters about his
11 genuine remorse and growth as a person since his arrest. The letters from family, friends, and

12 others who have known Louis (both in Canada where he is a citizen and resided until his arrest, and

13 in the United States where he has been detained out of custody since his arrest) supply a full – and

14 very positive – picture of him, showing how committed he is to moving forward in his life with

15 resolve to never again take actions like those that have put him before this Court for sentencing.

16          Louis stands before this Court to be sentenced as a non-violent, first-time offender. Below
17 are the many compelling reasons based on the factors set forth in 18 U.S.C. § 3553(a) that any term

18 in custody is unwarranted. Those reasons revolve around the totality of who Louis is (e.g., someone

19 who since his arrest has spent significant time reflecting on matters and volunteering nearly 200

20 hours at five different charities); who Louis can still be (a successful and law-abiding professional);

21 how Louis has already been punished (he has been unable to return home to Canada since his arrest

22 and has been restricted to residing at his sister’s house in Los Angeles with active location

23 monitoring and essentially no computer or internet access); Louis’ acceptance of responsibility

24 (which includes significant forfeiture); and the unique circumstances of the offense (e.g., the

25 underlying offense is a misdemeanor under Washington state law). For these reasons, the Court

26 should sentence Louis to a non-custodial sentence – a brief term of probation. He would like to

27 return home to Canada and begin rebuilding his life there as soon as possible.

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                                                DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1                                              DISCUSSION

 2      1. Sentencing Framework

 3          The advisory sentencing guidelines are merely “one factor among the § 3553(a) factors that

 4 are to be taken into account in arriving at an appropriate sentence.” United States v. Carty, 520

 5 F.3d 984, 991 (9th Cir. 2008). “[T]he history and characteristics of the defendant” are considered

 6 alongside “the nature and circumstances of the offense.” 18 U.S.C. § 3553(a)(1). “The overarching

 7 statutory charge for a district court is to ‘impose a sentence sufficient, but not greater than

 8 necessary’ to reflect the seriousness of the offense, promote respect for the law, and provide just

 9 punishment; to afford adequate deterrence; [and] to protect the public. . . ” Carty, 520 F.3d at 991.
10          The PSR has calculated an advisory sentencing guidelines total offense level of 17, resulting
11 in a sentencing range of 24 to 30 months. The defense and government expected this (and the

12 defense does not contest it), and pursuant to the plea agreement, the government nonetheless agreed

13 to recommend a prison sentence of no more than 18 months. The government has informed the

14 defense that it is recommending a term of imprisonment of 12 months plus one day. The Probation

15 Office has also recognized that the advisory sentencing guidelines range is too high by also

16 recommending a prison sentence of 12 months plus one day. A thorough and fair consideration of

17 all the § 3553(a) factors, however, shows a non-custodial probationary sentence is merited.

18      2. Louis Ong’s Personal History and Characteristics

19          Pursuant to 18 U.S.C. § 3553(a)(1), in arriving at a sentence that is “sufficient but not

20 greater than necessary” to comply with the purposes of federal sentencing, the Court “should

21 consider the nature and circumstances of the offense and the history and characteristics of the

22 defendant.” (Emphasis added.) The latter considerations are addressed by: (1) a brief overview of

23 Louis’ life and; (2) the words and voices of the many people who have come forward to write the

24 Court letters regarding their knowledge of his many admirable qualities and good deeds.

25              a. Louis’ Upbringing, Schooling, and Work History

26          Louis was born in Singapore to his parents Yenher Ong and Siut Ngo Chai. His father,

27 Yenher, was a career public officer for over 30 years, serving in the Department of Labor most

28 recently as a Presiding Judge. His mother is a retired homemaker who worked as an accounting

                                                        2
                                                 DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 clerk for an energy company to support her family after separating from Louis’ father. (PSR ¶ 35.)

 2 They separated when Louis was only two, and his mother moved him and his sister to Kuala

 3 Lumpur. (Id.) In 1987, Louis’ mother moved them to Canada in search of a better life. (Id.) She

 4 raised them as a single mother, and for over 20 years, Louis had no contact with his father.

 5            Louis not only graduated from high school, but obtained his Bachelor of Science degree in

 6 Computer Science from the University of British Columbia. (PSR ¶¶ 43-44.) Since then, he has

 7 pursued many personal development courses and seminars and has volunteered consistently,

 8 including singlehandedly organizing a “get out and play” event to inspire physically inactive

 9 teenagers to participate in sports. He used his savings for the event, as well as obtained sponsors
10 such as Costco. Louis was a senior mentor for the University of British Columbia Computer

11 Science mentoring program, and volunteered for the Red Cross. As described in more detail below,

12 since his arrest, Louis has spent a significant amount of time volunteering.

13            In addition to school and volunteering, Louis has also consistently been employed. He has
14 worked to develop software in the video game industry and has worked in retail, selling household

15 products, as well as working for Apple and Lululemon clothing. He has always been an

16 entrepreneur eager to make his own way and contribute to society.

17            The fact that Louis’ father abandoned him at a tender age and that Louis’ efforts alone
18 reconnected both his sister and him with their father should be not overlooked. Louis’ father

19 acknowledges his failings as a father in his letter to the Court, which is attached in Exhibit A. 1 He

20 lost touch with his children for over 20 years. When Louis decided to track down his father, he

21 contacted the Singapore Department of Labor. As a result of his efforts, he and his sister were able

22 to reunite with their father in Singapore. In his letter, his father describes the impact of this reunion

23 and attributes it entirely to Louis.

24            Perhaps Louis’ most important job prior to his arrest, and what he intends to resume as soon

25 as he returns to Canada, is that of caretaker of his ailing mother in Vancouver. She is 69 years old

26 and her health has been deteriorating for years. Louis has been her primary caretaker for some time.

27
     1
28    Louis’ father’s letter includes a typographical error that he explained in an email that is included behind the letter. He
     was unable to re-send a corrected version in time for filing, since his attempt to reattach the file failed.
                                                                  3
                                                          DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 His arrest and the resulting stress have contributed to her declining health. He is eager to return to

 2 Canada as soon as possible to look after her and resume his role as a loving son.

 3            Louis has learned a great deal from his errors. He remains eager to improve himself and the

 4 lives of those around him. He wants the Court to know that when given the opportunity in the

 5 future, he intends to pursue business opportunities with no less drive than before, but with far

 6 greater probity and most importantly, with absolute respect for the law.

 7                b. Supportive Testimonials: The Louis Known to Family, Friends, and Others

 8            Attached as Exhibits A, B, and C, respectively, are letters to the Court from people who

 9 know Louis well. 2 Exhibit A consists of family letters from his parents, his sister, and her husband.
10 The family’s difficulties, and Louis’ personal struggle – for which he accepts full responsibility –

11 need little introduction to this Court. But despite his arrest and the burdens it has imposed on them,

12 his family remains 100% percent supportive. Louis is deeply remorseful for the burdens and

13 heartache his arrest has placed on them.

14            Exhibit B encompasses a number of letters from individuals Louis has met while in Los
15 Angeles. This includes people for whose organizations he has volunteered, as well as pastors who

16 have helped him address what led him to this point and helped him down the path to being a better,

17 more responsible person. The writers each relate Louis’ reliability and dedication to his

18 volunteering, as well as his remorse and dedication to growth and change.

19            Exhibit C is comprised of moving letters from 11 people from other quarters of Louis’ life,
20 including schoolmates, co-workers, business partners, mentors, and friends he has met through his

21 athletic pastimes like ultimate frisbee and hiking. As the Court will read, they all respect Louis

22 despite what has happened here.

23            Collectively, the letters leave no doubt that despite the crime he has committed, Louis has
24 consistently touched and inspired people around him, and those individuals have not forgotten or

25 abandoned him. They will be there for him when he emerges from this period in his life to start his

26
     2
27     Several authors sent unsigned versions of their letters and then photographed images of their printed letters with their
     signatures. Some individuals also sent photographs of themselves for the Court’s reference. For ease, the exhibits are
28   organized with photographs (if provided) of the author first, the clearer unsigned version of the letter second, and the
     printout of the photograph of the signed letters last.
                                                                  4
                                                          DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 life anew, and he is committed to not letting them down. Perhaps more importantly, the letters

 2 reveal the picture of a changed man, one who has engaged in deep introspection, who has become

 3 very involved in charity, and who seeks to move forward with his life.

 4          After his arrest, Louis sought out the opportunity to attend church here in Los Angeles, and

 5 began attending the Christian Assembly Church in North East Los Angeles. Reverend Matthew

 6 Price of the church describes a dedicated volunteer and a truly changed man who has faced his

 7 mistakes, and gained great humility:

 8
                   This involvement in our church has given Lou and I opportunity to talk
 9                 about his guilty plea. He told me “I never thought of myself as someone
                   who needed to be forgiven for something, but now I know I am.” Being
10
                   convicted of his crime and pleading guilty has formed great humility in
11                 him and his friendships in our church have helped him face the mistakes
                   of his past and seek forgiveness. I have had the privilege of watching all
12                 this happen. There is not an ounce of defensiveness in Lou. Pure remorse
                   met with the gracious embrace of true friends has been healing and
13                 transforming. He had hidden nothing and even expressed to me the feeling
                   of freedom he has in facing what ever [sic] results from his trial. Whatever
14
                   may come from the sentence he receives, Lou is a man set on a new course
15                 in life.

16
            Similarly, Louis has become close with Pisey Sok, a mental health therapist and Community
17
     Life Pastor at the Christian Assembly Church, spending hours discussing his case and its impact on
18
     his life. He too has seen a changed man:
19

20                 As our relationship grew, Lou shared with me about his story and how he
                   pleaded guilty to charges related to operating an unlicensed money
21                 transmission business. Over the months we have spent hours exploring his
22                 feelings surrounding this event. I sensed a deep feeling of remorse and a
                   strong desire to make things right. The circumstances surrounding this
23                 case has [sic] been a catalyst for exploration and discovery of a new way
                   of life. . . I believe that Lou is completely repentant of his past conducts
24                 [sic] and have [sic] grown to be a man of integrity who has a desire to
                   serve others.
25

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                                                      5
                                                DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1          Louis has volunteered at five organizations since his pretrial conditions were changed to
 2 allow him to leave his sister’s home, and in total volunteered almost 200 hours. These

 3 organizations include The Gooden Center in Pasadena (a men's substance abuse treatment center in

 4 Pasadena), Union Station Homeless Services (San Gabriel Valley's largest social service agency

 5 assisting homeless and low-income adults/families), Union Rescue Mission (the United States’

 6 largest private homeless shelter); the Christian Assembly Church, and the Jesus Knows My Name

 7 Ministry (Feeding Homeless in LA's Skid Row). The individuals who have met Louis through his

 8 volunteering speak of a dedicated and helpful volunteer who has gone above and beyond to help.

 9 For example, Sean Strovas, the Connections Director for Christian Assembly Church, who oversees
10 approximately 170 volunteers, has this to say:

11

12                  Louis has faithfully volunteered every weekend since the end of
                    November and has been a key member of our volunteer team. Since
13                  November, I have entrusted Louis with the oversight of an offsite parking
                    lot we rent. In the past, we have had conflict with the owner over how we
14                  are using the space, so I assigned Louis to oversee this site. Louis has
                    served with a kind and friendly attitude and has greatly improved relations
15                  between our organization and the owner of the building. He is trustworthy
16                  and reliable and has been a great asset to our volunteer team!

17
            Louis has also volunteered since January 2018 at the Jesus Knows My Name Ministry-
18
     Church, where he helped the homeless on Skid Row, and, since February, at the Gooden Center in
19
     Pasadena, a men’s rehabilitation center where thousands have been treated since its founding in
20
     1962. At the Gooden Center, Louis has been a “Client Advocate,” a position in which he has
21
     exhibited kindness, support and a warm presence to individuals who were often in the darkest times
22
     of their own lives. The Program Assistant Supervisor at the Gooden Center, Matthew Suzuki has
23
     this to say about Louis:
24

25                  Mr. Ong explained his legal situation and did not place blame or guilt on
26                  anyone’s actions but his own. . . Working in an environment which helps
                    individuals who have done some real wreckage to the public, ones’ senses
27                  become quite heightened in knowing if an individual appears sincerely
                    remorseful for their personal actions and others’ [sic] who do not. Mr.
28                  Louis Ong, in my eyes, is placed in the group that holds themselves
                                                      6
                                                DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1                 accountable and learns to make things right. . . I closely kept track of the
                   impact Louis made on our clients, and even our staff, to see if his presence
 2                 was helpful, neutral or negative. The conclusion I have made is that he
                   excelled in everything asked to do, brought hope and inspiration to others,
 3
                   and lastly always brought a smile to peoples [sic] face.
 4

 5          Additionally, in the last two months, Louis has begun volunteering at the Union Station
 6 Homeless Services, where he helps prepare meals and clean up, among other things. There too, he

 7 has gone above and beyond and expressed his remorse and regrets for the actions that led him here.

 8 David Lightfoot Jr, the Food Services Manager there said:

 9
                   Mr. Ong… has been a major asset to our operations. Mr. Ong has arrived
10
                   early for his shifts and often stayed later than scheduled to complete tasks.
11                 He has been a role model to other volunteers, and has helped train new
                   volunteers to adjust to duties in our operations. During his time here, he
12                 has had a great impact on our clients we shelter here by demonstrating an
                   attitude of kindness, dignity and respect in all his interactions.
13                 Characteristics I would use to describe Mr. Ong are: a spirit of service,
                   kindness, punctuality, strong work ethic, respect, humbleness and
14
                   humility. . . Louis has shared his story with me and expressed extreme
15                 regret and remorse for this incident, but also seems resolved to face the
                   consequences head on. Louis has left a lasting impression on us. . .
16

17          Louis has touched the lives not only of those struggling deeply that he has encountered
18 through his volunteer activities, but also of many individuals that he has met along his path,

19 including doctors, successful entrepreneurs and respected members of Canadian and American

20 society. His personality is that of someone easy to talk to with a warm smile, a good listener, and

21 someone willing to go the extra mile for friends. Kevin Prato, a Venezuelan artist who Louis met

22 through Ultimate Frisbee and who moved to Vancouver without his family describes how Louis

23
     helped him significantly through the many challenges he faced as an immigrant:
24

25                 When I first moved to Canada in 2013 to study computer graphics, I
                   acutely experienced the challenges that many immigrants face: low
26                 income, poor communication skills, and no social support. As I wrestled
                   with learning English and managing the cost of living, Louis was there.
27                 He showed constant support and concern for my well-being and has
                   always offered assistance when I was in need. . .
28

                                                      7
                                                DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1                  Louis, to me, is one of the most kind and selfless people I know. He
                    genuinely cares for those around him, and has been a huge support to me
 2                  from the moment I met him 4 years ago. I am aware that Louis has
                    pleaded guilty to his conduct, and I believe he genuinely feels sincere
 3
                    remorse and regret for his actions.
 4

 5          Louis’ care for others is something that has been a common thread throughout his life. He is
 6 eager to return to being a close friend able to support those in his life when he is allowed to return to

 7 Canada. One other thing that stands out about Louis is his ability to cultivate true friendships with

 8 everyone, even those he met on basic sales calls.

 9          Dr. Teskey, a physician in Vancouver, describes how they met when Louis came to his door
10 as a salesman. Louis impressed Dr. Teskey so much that he invited him in and offered to mentor

11 him and partner with him in a business if he was interested. Not only did Louis accept this

12 invitation, but he became a friend and guest in their home as well as a trustworthy, responsible

13 businessman.

14          Even those who have just met Louis, like Scott and Cathy Green, who met Louis at church
15 and now hike with him regularly, describe an open and honest man who has shared his life

16 experiences openly, and dedicated his life to a new path, repenting this grave misstep:

17
                    Over several more months. . .[Louis] opened up and spoke about his
18                  childhood, his difficulties, his hopes and dreams. I got to know Louis and
                    have come to admire him. We began to see Louis at church much more
19
                    often. I also noticed that Louis was volunteering at our church services. I
20                  asked him why, and he simply told me that he felt that God was working
                    on him. . . We notice that Louis has accepted his own mistakes and is
21                  willing to accept his punishment. . . Louis is humble, gentle, kind,
                    compassionate, understanding, friendly and repentant.
22

23          These friends are eager to continue their relationships with Louis and, for those in Canada,
24 to resume spending time with him. They are eager to support him and see him through this dark

25 time.

26          Overall, there can be no doubt that Louis is a deeply remorseful and changed man. He is
27 eager to be allowed to return to Canada where he can resume his role as a cherished son and

28

                                                       8
                                                 DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 caretaker to his mom, pursue new volunteer and professional opportunities, and return to friendships

 2 he has cultivated throughout his life. This is his first – and it will be his last – involvement with the

 3 criminal system here, in Canada, or anywhere else for that matter.

 4      3. The Remaining 18 U.S.C. § 3553(a) Factors Support a Non-Custodial Sentence

 5          In arriving at a sentence, that is “sufficient but not greater than necessary” to comply with

 6 the purposes of federal sentencing, the Court needs to consider a number of other factors, including:

 7 (1) the nature and circumstances of the offense; and (2) the need for the sentence imposed (a) to

 8 reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment

 9 for the offense, (b) to afford adequate deterrence to criminal conduct, and (c) to protect the public
10 from further crimes of the defendant. 18 U.S.C. § 3553(a). The following is a discussion of how

11 those factors, the most relevant ones here other than his personal history and characteristics

12 discussed above, support a non-custodial probationary sentence.

13              a. The nature and circumstances of the offense
14          The nature and circumstances of the offense weigh strongly in favor of the requested
15 sentence. Louis acknowledges that he engaged in criminal conduct and is guilty of a serious

16 criminal offense, a federal felony. In this case, he pleaded guilty to violating 18 U.S.C. § 1960(a)

17 and (b)(1)(A) through his operation of a money transmission business in Washington state without

18 the necessary state license. States, like Washington, depend on those operating money transmission

19 businesses to obtain licenses so they can, among other things, monitor those businesses’ activities.

20 Louis does not dispute the importance of such laws, and he sincerely regrets his illegal conduct.

21 That said, it bears pointing out that on the full spectrum of federal felonies this is one of the more

22 relatively minor ones. This is a non-violent crime, and there are no allegations that Louis defrauded

23 or stole money from anyone, let alone vulnerable victims.

24          Further, under Washington state law, failing to obtain a state money transmission license is
25 only a misdemeanor (up to 90 days in jail) or a gross misdemeanor (up to 364 days in jail). See

26 RCW 19.230.030, and 19.230.300(2), (3). This means Louis could be sentenced to no more than

27 one year in jail in a Washington state court for the same offense he pleaded guilty to federally. It

28

                                                        9
                                                 DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 also almost surely means, in light of his first-time offender status and other circumstances described

 2 in this sentencing memorandum, he would be sentenced by a state court to no time in custody at all.

 3              b. The need for the sentence imposed to reflect the seriousness of the offense, to

 4                  promote respect for the law, and to provide just punishment for the offense

 5          Since Louis was arrested on July 21, 2017, he has been in actual federal custody for 20 days,

 6 and since then, while on subsequent pretrial release, he has lived under custodial-like restrictions

 7 and conditions that regular defendants who are on pretrial release do not typically have to endure.

 8 Overall, this has been a tremendous hardship that the Court should factor into its sentence.

 9          When he was released to Pretrial Services supervision on August 7, 2017 following 20 days
10 in custody, Louis was placed on severe and very limiting restrictions in light of his personal

11 circumstances. His was restricted to the Western District of Washington and the Central District of

12 California (unless directed otherwise by Pretrial Services). This means that for almost a year now

13 he has not been able to return to his home in Canada (where he has lived his entire adult life) and

14 help care for his ailing mother. Instead, he has spent his time in Los Angeles, residing at his sister’s

15 house with her and her husband, other than when he attended two hearings in this case.

16          From the date of his pretrial release until September 22, 2017, he was on full home
17 confinement at his sister’s house. For over two months he was essentially stuck indoors all day in

18 someone else’s house in what is to him another country. On September 22, this severe restriction

19 was modified to curfew; however, again, he remained ultimately tethered to a home, city, and

20 country that are not his own.

21          More recently, on February 12, 2018, this restriction was reduced to stand alone monitoring.
22 Despite this further modification, Louis has had to wear an ankle monitor the entire time since his

23 August 2017 release to Pretrial Services supervision, which is an unusually lengthy period of time.

24 An ankle monitor is a social stigma particularly for someone trying to have a life in a new country

25 and city like Louis (at least one letter noted concern).

26          In addition to those significant restrictions and conditions, until February 12, 2018, Louis
27 was not permitted any computer or internet access. In this modern age, this is more than just a

28 simple inconvenience. It makes it hard to go about daily life, and makes things particularly difficult

                                                      10
                                                 DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 when you are living in a city and country that are not your own. Tasks, as simple as driving

 2 directions or the hours of grocery stores, are made more complicated and burdensome. On February

 3 12, this condition was slightly modified to permit him to access computers and the internet for

 4 purposes related to his case (e.g., e-mailing his attorney).

 5           Louis has also not been permitted to work while on pretrial release. This is because he is a

 6 foreigner without the proper work permit. As the Court can imagine, for someone who has always

 7 been as industrious as Louis, this in and of itself is a punishment. Although he has found

 8 productive ways to fill his time, as noted above, he has had to put his professional life on hold.

 9           Basically, Louis has not been home in almost a year and has lived under severe restrictions
10 and conditions that have cut him off from life as he has known and enjoyed it. Although he has not

11 technically been in custody other than 20 days, the pretrial release restrictions and conditions when

12 taken all together in his circumstances are very much like custody in terms of removal from every

13 day society, and they have lasted almost a year. In light of these facts, a non-custodial sentence of

14 probation at this juncture will more than adequately reflect the seriousness of the offense, promote

15 respect for the law, and provide just punishment.

16                a. Adequate deterrence to criminal conduct
17           Considering everything that has happened, discussed above, a sentence of probation is more
18 than adequate deterrence for a number of reasons. This includes, as was just discussed, the fact that

19 Louis has been removed from his home country for almost a year, and during that time been in

20 federal custody (20 days) or living under severe restrictions and conditions that have cut him off

21 from regular life (the rest of time).

22           In addition, as part of his plea agreement that would be a deterrent to anyone considering
23 doing what he has done, Louis agreed to forfeit significant funds that far exceed the value of the

24 transactions discussed in his plea agreement. Specifically, he has forfeited approximately 75

25 bitcoins, 50 bitcoin cash, and $235,000 in cash. The value of the bitcoins and bitcoin cash at the

26 time the government seized them was approximately $220,000. 3 The value at the time he agreed to

27
     3
28    Based on the Coindesk BPI price index: on July 21, 2017, the price of one bitcoin was approximately $2,700; and on
     August 3, 2017, the price of one bitcoin was approximately $2,815. Approximately 25 bitcoins were seized on July 21,
                                                              11
                                                       DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
 1 forfeit them about 6 months later was approximately $920,000. 4 This represents a tremendous

 2 increase in value, and also a significant level of deterrence, since people engage in the type of crime

 3 to which he pleaded guilty to make money and what he agreed to forfeit, approximately $1,155,000

 4 ($920,000 + 235,000), vastly exceeds the value of the transactions at issue, which is $311,000.

 5              Lastly, Louis’ status as a felon as a result of this conviction may forever foreclose his ability

 6 to return to the United States to visit his beloved sister, or for any other purpose. This additional

 7 significant hardship should not be overlooked.

 8                  b. Protection of the public from further crimes

 9              Neither imprisonment nor other forms of custody are needed to protect the public from
10 future crimes. Based on his lack of criminal history alone, Louis poses the lowest possible risk of

11 recidivism. More importantly, as the letters attest, he has done genuine soul-searching since his

12 arrest and has learned his lesson. As such, Louis presents no risk of reoffending and any form of

13 custody is wholly unnecessary to protect the public.

14                                                     CONCLUSION

15              Louis Ong is sincerely remorseful for what he has done, and he is dedicated to being

16 productive and law-abiding citizen. Consistent with the factors set forth in 18 U.S.C. § 3553(a), he

17 respectfully requests that the Court impose a non-custodial sentence of probation. Louis should be

18 permitted to return home to Canada as soon as possible.

19       DATED: May 4, 2018                                  Respectfully submitted,

20                                                             /s/ Brian E. Klein
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24                                                           Attorneys for Louis Ong
25

26 2017 and approximately 50 on August 3, 2017, so the approximate total price of the combined 75 bitcoins when seized
     was $208,250 ($67,500 + $140,750). The price of bitcoin cash on August 3, 2017 was approximately $440, based on
27 Coinmarketcap, making the approximately 50 bitcoin cash worth about $22,000.
     4
         Based on the Coindesk BPI price index, on January 29, 2018, the price of bitcoin was approximately $11,160. The
28 approximate total price of the approximately 75 bitcoins on January 29, 2018 was $837,000. The price of bitcoin case
     on January 29, 2018 was approximately $1,670, making the approximately 50 bitcoin cash worth $83,500.
                                                                12
                                                         DEFENDANT LOUIS ONG’S SENTENCING MEMORANDUM
Exhibit A - 13
Exhibit A - 14
Exhibit A - 15
Exhibit A - 16
Exhibit A - 17
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 1                                     CERTIFICATE OF SERVICE

 2          I certify that on May 4, 2018, I electronically filed the foregoing Memorandum with the
 3 Clerk of the Court using the CM/ECF system, which will automatically send notification of such

 4 filing to the parties. A copy also will be sent via electronic mail to:

 5                                 Steven M. McNickle
                                   Steve_McNickle@wawp.uscourts.gov
 6                                 United States Probation Officer
                                   Tacoma, WA 98402-3234
 7

 8
                                                             /s/ Brian E. Klein
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